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                                   Law Offices of
                               Charles M. Tebbutt, P.C.
                                 941 Lawrence Street
                                  Eugene, OR 97401
                          Ph: 541-344-3505 Fax: 541-344-3516

                                                                               December 22, 2022


        THIS IS AN URGENT LEGAL MATTER REQUIRING YOUR
                      IMMEDIATE ATTENTION

Via Certified Mail, Return Receipt Requested:

 Lyle J. Wood, Co-Owner
 Wood Farms, LLC
 9065 County Route 9
 Clayton, NY 13624

 Scott F. Bourcy, Co-Owner
 Wood Farms, LLC
 9065 County Route 9
 Clayton, NY 13624

 THE LLC, Registered Agent
 9065 County Route 9
 Clayton, NY 13624


NOTICE OF INTENT TO SUE PURSUANT TO THE FEDERAL WATER POLLUTION
 CONTROL ACT, 33 U.S.C. § 1365(a)(1), THE RESOURCE CONSERVATION AND
  RECOVERY ACT, 42 U.S.C. § 6972(a)(1)(B), AND OTHER CAUSES OF ACTION

Dear Messrs. Wood and Bourcy:

         Pursuant to the citizen suit provisions of the Federal Water Pollution Control Act, 33
U.S.C. § 1365(a)(1) (the “Clean Water Act” or “CWA”), the Center for Food Safety (“Notifier”),
hereby notifies you that on or after the 60th day from the date of this notice, Notifier intends to
initiate a citizen suit in Federal District Court against Wood Farms, LLC (“Wood Farms”),
located at or near 9065 County Route 9, Clayton, NY 13624. The lawsuit will allege that Wood
Farms has violated and remains in violation of the Clean Water Act and applicable state water
pollution control laws by discharging pollutants, including animal wastes such as solid manure
and liquid manure, process wastewater, and related operational waste products, to waters of the
United States in violation of its general discharge permit. The animal waste contains nitrogen,



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phosphorus, heavy metals, bacteria and other pathogens, as well as hormones and antibiotics
used on the animals, which are harmful to human health and the environment.

        Additionally, pursuant to the citizen suit provisions of the Resource Conservation and
Recovery Act (“RCRA”), 42 U.S.C. § 6972(a)(1), Notifier also hereby notifies you that on or
after the 90th day from the date of this notice, Notifier may initiate a citizen suit in Federal
District Court against Wood Farms for causing or contributing to an imminent and substantial
endangerment to human health and the environment.

                                    LEGAL FRAMEWORK

        The Clean Water Act is the cornerstone of surface water quality protection in the United
States. Sections 301 and 402 of the CWA establish the basic requirements that the discharge of
pollutants into waters of the United States requires a permit before any such discharge is
allowed. Section 301 of the CWA provides that “except as in compliance with . . . section . .
1342 . . . of this title, the discharge of any pollutant by any person shall be unlawful.” 33 U.S.C.
§ 1311(a). Section 402 of the CWA establishes the NPDES Program, which controls water
pollution by regulating point sources. Concentrated animal feeding operations, or CAFOs, are
point sources under the Clean Water Act. 33 U.S.C. § 1362(14). As such, a CAFO is prohibited
from discharging pollutants into waters of the United States unless that CAFO has coverage
under and complies with a general or individual NPDES permit. 33 U.S.C. § 1311(a). Wood
Farms qualifies as a “Large CAFO” because it has far more than 700 mature dairy cows. 40
C.F.R. § 122.23(b)(4).

        The Environmental Protection Agency delegates the relevant portion of the
administration of the NPDES permit program in New York to the New York State Department of
Environmental Conservation (the “DEC”), which administers the State Pollutant Discharge
Elimination System (“SPDES”) program in conformity with the CWA pursuant to Chapter 43-B,
Article 17 of the Consolidated Laws of New York, the Environmental Conservation Law
(“ECL”). ECL § 17-0801. The DEC administers the SPDES program by issuing individual
permits and approving coverage under general permits, including a general CAFO permit, Permit
No. GP-0-16-001 (the “2017 General Permit”), issued pursuant to Article 17, Title 7, and Article
70 of the ECL. The 2017 General Permit remains in effect for existing facilities until January 23,
2023, the effective date of its replacement permit, Permit No. GP-0-22-001 (the “2022 General
Permit” and, together with the 2017 General Permit, the “General Permits”).

        Once regulated by a SPDES permit, permittees must comply with all terms and
conditions of that permit. The Clean Water Act authorizes citizens to file suit against any person
alleged to be in violation of an effluent standard or limitation. 33 U.S.C. § 1365(a)(1). An
“effluent standard or limitation” includes a “permit or condition thereof issued under section
1342.” 33 U.S.C. § 1365(f)(6). Any violation of the General Permits constitutes a violation of the
CWA and the ECL. Humane Soc. Of U.S. v. HVFG, LLC, No. 06 Civ. 6829(HB0), 2010 WL
1837785, at *11 (S.D.N.Y. May 18, 2010) (“It is abundantly clear from the statutory language,
case law, and the permits themselves that a violation of the requirements of either permit is a
violation of the CWA”); 2017 General Permit § V(A); 2022 General Permit § V(A).




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        Applicable federal regulations define two primary parts of a CAFO: the “production
area” and the “land application area.” The “production area” includes “the animal confinement
area, the manure storage area, the raw materials storage area, and the waste containment areas.
The animal confinement area includes but is not limited to open lots, housed lots, feedlots,
confinement houses, stall barns, free stall barns, milkrooms, milking centers, cowyards,
barnyards, medication pens, walkers, animal walkways, and stables. The manure storage area
includes but is not limited to lagoons, runoff ponds, storage sheds, stockpiles, under house or pit
storages, liquid impoundments, static piles, and composting piles. The raw materials storage area
includes but is not limited to feed silos, silage bunkers, and bedding materials. The waste
containment area includes but is not limited to settling basins, and areas within berms and
diversions which separate uncontaminated storm water.” 40 C.F.R. § 122.23(b)(8). The “land
application area” means “land under the control of an [CAFO] owner or operator, whether it is
owned, rented, or leased, to which manure, litter or process wastewater from the production area
is or may be applied.” Id. § 122.23(b)(3).

        For CAFO production areas, the discharge of manure or process wastewater1 is strictly
prohibited. The only regulatory exception is when precipitation causes an “overflow2” of manure
or process wastewater; in that circumstance, a discharge is authorized only to the extent that (1)
the production area is designed, constructed, operated and maintained to contain all manure . . .
and process wastewater including the runoff and the direct precipitation from a 25-year, 24-hour
rainfall event, and (2) the production area is operated in accordance with the additional measures
and record-keeping requirements found in 40 C.F.R. § 412.37(a) and (b). See 40 C.F.R.
§ 412.31(a). Also, for this exception to apply, the facility must first have a valid NPDES permit.

       For CAFO land application areas, the discharge of manure or process wastewater is
prohibited. Only precipitation-caused discharges are allowed – so-called “agricultural
stormwater” – and only where the application of manure or process wastewater has been
accomplished in accordance with the NPDES/SPDES permit, including site-specific nutrient
management practices that ensure the appropriate agricultural utilization of nutrients, consistent
with 40 C.F.R. § 122.42(e)(1)(vi)-(ix).

           VIOLATIONS OF THE CLEAN WATER ACT AND THE RESOURCE
                    CONSERVATION AND RECOVERY ACT

        Notifier intends to initiate a citizen suit on or after the 60th day from the date of this letter
against Wood Farms for violating the Clean Water Act and polluting the St. Lawrence River,
Lake Ontario, and adjacent streams and tributaries. Upon information and belief, Wood Farms

1
  “Process wastewater” is defined as “water directly or indirectly used in the operation of the CAFO for any or all of
the following: spillage or overflow from animal or poultry watering systems; washing, cleaning, or flushing pens,
barns, manure pits, or other CAFO facilities; direct contact swimming, washing, or spray cooling of animals; or dust
control. Process wastewater also includes any water which comes into contact with any raw materials, products, or
byproducts including manure, litter, feed, milk, eggs, or bedding.” 40 C.F.R. § 412.2(d). In this regard, run-on water
from upland areas that comes into contact with any raw materials, products, or byproducts at Wood Farms, including
manure from dairy cows, constitutes “process wastewater.”
2
  An “overflow” means “the discharge of manure or process wastewater resulting from the filling of wastewater or
manure storage structures beyond the point at which no more manure, process wastewater, or storm water can be
contained by the structure.” 40 C.F.R. § 412.2(g).


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(DEC SPDES Number: NYA00E390) does not have an individual SPDES permit; rather, Wood
Farms is covered under the 2017 General Permit. The lawsuit will allege that Wood Farms has
discharged and continues to discharge animal wastes, including liquid and solid manure and
related process wastewater into waters of the United States, including tributaries, ditches,
wetlands, the St. Lawrence River, and tributaries that lead to Lake Ontario, including Kents
Creek and Mud Bay, in violation of the 2017 General Permit. The Wood Farms property
includes land in the Kents Creek watershed on which Wood Farms applies animal waste.

        In particular, on information and belief, Notifier will allege the following: First, Wood
Farms has discharged, continues to discharge, and is reasonably likely to continue to discharge
process wastewater to surface waters of the State, which excludes Wood Farms from coverage
under Section I(A)(3)(d) of the General Permits. Second, in addition or in the alternative, Wood
Farms has discharged, continues to discharge, and is reasonably likely to continue to discharge
manure from its production area to surface waters of the State in violation of Section I(B)(1) of
the General Permits. Third, in addition or in the alternative, Wood Farms has discharged,
continues to discharge, and is reasonably likely to continue to discharge manure or process
wastewater to land application areas during winter months to snow-covered or frozen lands
without conforming to the 2015 Cornell Guide, “Revised winter and wet weather manure
spreading guidelines to reduce water contamination risk” or the NRCS NY590 Standard, and
without identifying specific low-risk fields to be used for winter weather applications in its
Comprehensive Nutrient Management Plan, in both cases in violation of Section III(A)(8)(c) of
the General Permits. Such applications include a multitude of out-of-season applications,
including December 2021 and numerous other times not available to Notifier as such information
is not available to the public.

         Moreover, in addition or in the alternative to the above permit violations, Wood Farms is
a generator, transporter, and owner and/or operator of a treatment, storage, and disposal facility
that is contributing to the past and present storage, treatment, transportation and/or disposal of
solid wastes, namely liquid and solid manure. Wood Farms’ liquid and solid manure constitute
“solid wastes” under RCRA because they are “any...discarded material, including solid, liquid,
semisolid, or contained gaseous material resulting from industrial, commercial, mining, and
agricultural operations...” 42 U.S.C. § 6903(27). Wood Farms’ practices in storing, treating,
transporting, applying, and disposing of liquid and solid manure may, and do, present an
imminent and substantial endangerment to the health of nearby residents and to the environment
in violation of the Resource Conservation and Recovery Act, 42 U.S.C. § 6972(a)(1)(B).
Specifically, Wood Farms employs earthen, rather than synthetic, liners in its three manure
lagoons that permit the downward migration of manure-related contaminants. Even liners
constructed to Natural Resource Conservation Service 313 standards for manure storage
impoundments, which Wood Farms’ lagoon liners may or may not meet, can still leak significant
quantities of manure constituents into groundwater. Such leakage constitutes disposal of manure,
which percolates to groundwater that then leads to further discharges of nitrogen and
phosphorus, among other pollutants, to the St. Lawrence River and to the drinking water of area
residents. Furthermore, applications of manure beyond which the current crop can effectively
utilize as fertilizer cause nitrates to leach through soil and into groundwater. Once these nitrates
enter the local water table, they migrate away from Wood Farms’ dairy facility and into




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groundwater and, consequently, the wells of nearby residents. Both RCRA and the Safe Drinking
Water Act set safety limits of nitrate in drinking water at 10 parts per million (ppm).

        Water samples and photographs indicate a pattern and practice of regular discharges
through one or more of the above-described means from the facility. For instance, water quality
results from Wheeler Creek, near its confluence with the St. Lawrence River, indicate Total
Coliform of 16,000 CFUs/100 mL and E. coli of 5,794 CFUs/100 mL on October 19, 2022. The
high levels of those bacteria caused by Wood Farms’ discharges also constitute a violation of
Section I(B)(3) of the General Permits, which require that discharges not cause or contribute to a
violation of water quality standards as contained in Parts 700 through 705 of Title 6 of the
Official Compilation of Codes, Rules and Regulations of the State of New York. That section
sets standards for monthly median Total Coliform samples at between 50 to 1,000 CFUs per 100
mL, depending on the class, and E. coli at 126 CFUs per 100 mL, in all cases substantially lower
than the sample here. 6 CRR-NY 703.4.

        A number of photographs of the adjacent area taken at Wheeler Creek’s confluence with
the St. Lawrence River in February 2019, reproduced below, also evidence Wood Farms’
unlawful discharges. Then photographs show a substantial degree of foam formation, which is
caused by Wood Farms’ discharge of manure or process wastewater.




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       The photographs of discharge in February 2019 are similar to the discharges that
occurred in March 2014. See photographs of the latter below.




        Wood Farms was cited for these 2014 violations of the ECL. On July 17, 2014, the DEC
issued Wood Farms a Notice of Violation of the ECL in relation to an unpermitted overflow pipe
from the facility’s oil and water separator. Other discharges occurred as a result of
overapplication or improper application of manure during the winter of 2013-2014, which are
depicted in the photographs reproduced herein. Furthermore, on November 3, 2008, the DEC
issued a Notice of Violation for, among other things, process wastewater from the Bunk Silo that
was reaching the tributary to Wheeler Creek and process wastewater from a floor drain in the
milking parlor that was being discharged to a drainage and flowing into a stream. While those
particular issues are no longer subject to civil penalties, they demonstrate the ongoing and
continuous nature of Wood Farms’ pattern and practice of discharges, which in turn cause water
quality violations that threaten health and the environment.

        The just-concluded 15th Conference of the Parties to the United Nations Convention on
Biodiversity in Montreal recognized that agricultural pollution is a significant threat not only to
water quality but also to species survival. The Wood Farms discharges are an example of the
threat.


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        In addition, Wood Farms’ recordkeeping is highly suspect. Section IV(D) of the 2017
General Permit requires Wood Farms to submit an Annual Compliance Report form to the DEC,
and Section V(E) of the 2017 General Permit requires that “all reports and information
submittals supplied to the Department shall contain complete information.” Moreover, pursuant
to Section V(A) of the 2017 General Permit, “The owner/operator must comply with all
conditions of this general permit. Any permit noncompliance constitutes a violation of the
Environmental Conservation Law.”

        The Annual Compliance Report forms that Wood Farms has submitted to the DEC
contain numerous, statistically-impossible repetitive entries regarding manure, litter, and process
wastewater generated. To wit, among other things, the 2021, 2020, and 2019 forms all list
10,266,696 gallons of manure generated for each of those respective years; the 2021, 2020, 2019,
2018, and 2016 forms all list 611 tons of litter generated for each of those respective years; and
the 2021, 2020, 2019, 2018, 2016, 2015, 2014, and 2013 forms all list 2,085,533 gallons of
process wastewater generated for each of those respective years. It is highly unlikely that each of
those identical entries could be accurate by coincidence; instead, Wood Farms appears to have
replicated entries in lieu of providing updated, accurate numbers. Therefore, Wood Farms has
failed, perhaps knowingly, to provide complete information in its reports to the DEC, contrary to
the 2017 General Permit, and has thus also violated the ECL and CWA through permit
noncompliance.

        Finally, aside from violating the CWA, ECL, and RCRA, Wood Farms’ activities
constitute a public nuisance. Wood Farms is less than one-half mile from Thousand Islands
High/Middle School and Thousand Islands Central School. Children and staff from those schools
complain about the smell, as do neighbors; ammonia, hydrogen sulfide, organic volatile
compounds, and other pollutants from Wood Farms are significantly interfering with their ability
to safely enjoy the property. Noxious odors from the operations affect the community
surrounding Wood Farms. Odors from Wood Farms’ operations have been detected in the middle
of the St. Lawrence River, miles from the operations. In addition to foul odors, pathogens and
allergens associated with CAFO operations are known to travel through the air for miles, thus
posing additional risks of asthma and allergic reactions as well as headaches, respiratory
problems, eye irritation, nausea, weakness, and chest tightness.

                        INJUNCTIVE RELIEF & CIVIL PENALTIES

        Notifier will seek injunctive relief in the lawsuit requiring Wood Farms to abate all
discharges; to install appropriate pollution control technology, including synthetic lagoon liners;
and to implement proper recordkeeping and application practices. Notifier will also request in the
lawsuit that Wood Farms comes into full compliance with the General Permits and obtain an
individual NPDES/SPDES permit.

        Liability for violating the Clean Water Act is strict, and each violation is subject to a civil
penalty. The present civil penalty amount per violation per day is $59,973, as adjusted for
inflation by EPA. See 87 FR 1676. Notifier will allege in the lawsuit that Wood Farms has
discharged, continues to discharge, and is reasonably likely to continue to regularly discharge
pollutants for the past five years and into the future, subjecting Wood Farms to a daily penalty of



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up to $59,973 per violation. Notifier will ask that the Court impose the maximum civil penalty
authorized by law.

        Under RCRA, Notifier may seek injunctive relief requesting cessation of discharges, and
mandatory injunctive relief in the form of synthetic lining of all manure holding structures, and
other changes in operations to stop the discard of animal waste, all of which are causing or
contributing to an imminent and substantial endangerment to health and the environment.

       Finally, as authorized by the Clean Water Act and RCRA, Notifier will seek an order
from the Court requiring Wood Farms to pay Notifier’s attorneys’ fees and costs, including
expert witnesses’ fees and costs.

                                 PARTIES GIVING NOTICE

       The name, address, and phone number of the party giving this Notice of Intent to Sue is:

       Center for Food Safety
       303 Sacramento St, 2nd floor
       San Francisco, CA 94111
       Phone: (415) 826-2770

        The names, addresses, and phone numbers of counsel for the parties giving this Notice of
Intent to Sue are:

       Charles M. Tebbutt
       Jonathan D. Frohnmayer
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                                         CONCLUSION

         We will be available to discuss effective remedies and actions that will assure Wood
Farms’ future compliance with the Clean Water Act and Resource Conservation and Recovery
Act, and all other applicable state and federal environmental laws. If you wish to avail yourself
to this opportunity and avoid the need for adversarial litigation, or if you have any questions
regarding this letter, please contact the undersigned. If you are or will be represented by an
attorney, please have that attorney contact the undersigned instead.

                                             Sincerely,


                                             Charles M. Tebbutt
                                             Law Offices of Charles M. Tebbutt, P.C.




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cc: Via Certified Mail, Return Receipt Requested, to the following:

 Michael S. Regan, Administrator
 U.S. Environmental Protection Agency, Mail Code 1101A
 1200 Pennsylvania Avenue, N.W.
 Washington, DC 20460

 Lisa F. Garcia, Regional Administrator
 U.S. Environmental Protection Agency, Region 2
 290 Broadway
 New York, NY 10007-1866

 Basil Seggos, Commissioner
 New York State Department of Environmental Conservation
 625 Broadway
 Albany, New York 12233-0001

 Randall Young, Regional Director
 New York State Department of Environmental Conservation, Region 6
 317 Washington St.
 Watertown, NY 13601-3787

 The Honorable Merrick P. Garland
 Attorney General
 U.S. Department of Justice
 950 Pennsylvania Avenue, NW
 Washington, DC 20530-0001

 The Honorable Kathy Hochul
 Governor of New York State
 NYS State Capitol Building
 Albany, NY 12224

 The Honorable Letitia James
 New York State Attorney General
 Office of the Attorney General
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